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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 10X GENOMICS, INC. and PROGNOSYS
 BIOSCIENCES, INC.,

                Plaintiffs,                         C.A. No. 21-cv-653-MFK

        v.

 NANOSTRING TECHNOLOGIES, INC.,

                Defendant.


  NANOSTRING TECHNOLOGIES, INC.’S MOTION FOR SUMMARY JUDGMENT
 OF INVALIDITY FOR LACK OF WRITTEN DESCRIPTION AND INDEFINITENESS


       Pursuant to Federal Rule of Civil Procedure 56 and this Court’s orders, Defendant

NanoString Technologies, Inc. hereby moves the Court for an order granting Summary Judgment

that U.S. Patent Nos. 11,293,917; 10,472,669; 10,961,566; 10,983,113; 10,996,219; 11,001,878;

11,008,607; and 10,662,467 are invalid for lack of written description and that U.S. Patent No.

11,293, 917 is invalid for indefiniteness under 35 U.S.C. § 112 as explained in the accompanying

opening brief in support of this Motion and the accompanying statement of undisputed material

facts in support of this Motion.




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 Dated: July 21, 2023                     Respectfully submitted,

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